Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 1 of 25 Page ID #:115



     1   LONNIE D. GIAMELA, SBN 228435
         lgiamela@fisherphillips.com
     2   SEAN F. DALEY, SBN 272493
         sdaley@fisherphillips.com
     3   FISHER & PHILLIPS LLP
         444 South Flower Street, Suite 1500
     4   Los Angeles, California 90071
         Telephone: (213) 330-4500
     5   Facsimile: (213) 330-4501
     6   Attorneys for Defendant
         RED ROBIN INTERNATIONAL, INC.
     7

     8                         UNITED STATES DISTRICT COURT
     9          CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
    10

    11   MARCIANO TOPETE,                      Case No: 8:17-cv-01721 AG (JDEx)
                                               [Originally Orange County Superior
    12                       Plaintiff,
                                               Court Case No.: 30-2017-00930423-CU-
    13          v.                             OE-CJC]
    14   RED ROBIN INTERNATIONAL,              MEMORANDUM OF POINTS AND
         INC., a Nevada Corporation, doing     AUTHORITIES IN SUPPORT OF
    15   business as RED ROBIN BURGER          DEFENDANT RED ROBIN
         AND SPIRITS EMPORIUMS, and            INTERNATIONAL, INC.’S MOTION
    16   DOES 1 through 20, inclusive,         FOR PARTIAL SUMMARY
                                               JUDGMENT
    17                       Defendants.
    18
                                               [Filed Concurrently with Notice of
                                               Motion and Motion, Separate Statement
    19
                                               of Uncontroverted Facts and Conclusions
                                               of Law, Declaration of Sean F. Daley,
    20
                                               Appendix of Exhibits in support thereof,
                                               [Proposed] Order, and [Proposed]
    21
                                               Judgment]

    22                                         Date:        August 20, 2018
    23
                                               Time:        10:00 a.m.
                                               Location:    Courtroom 10D
    24
                                                            411 West Fourth Street
                                                            Santa Ana, California
    25

    26
                                               Complaint Filed:   July 7, 2017
                                               FAC Filed:         July 27, 2017
    27
                                               Trial Date:        October 2, 2018

    28


         MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 2 of 25 Page ID #:116



     1                                          TABLE OF AUTHORITIES
     2                                                                                                             Page(s)
     3
         Cases
     4
         Adams v. U.S.,
     5     350 F.3d 1216 (Fed. Cir. 2003) ..................................................................13, 15
     6
         Alvarez v. IBP, Inc.,
     7      339 F.3d 894 (9th Cir. 2003)............................................................................ 18
     8   Amaral v. Cintas Corp.,
     9     163 Cal. App. 4th 1157 (2008)......................................................................... 11

    10   Anderson v. Liberty Lobby, Inc.,
           477 U.S. 242 (1986) ........................................................................................... 9
    11

    12   Armenta v. Osmose, Inc.,
           135 Cal. App. 4th 314 (2005).....................................................................10, 11
    13
         Baker v. Norman,
    14
           651 F.2d 1107 (5th Cir. 1981)............................................................................ 8
    15
         Barnhill v. Robert Saunders & Co.,
    16     125 Cal. App. 3d 1 (1981) ............................................................................ 9, 12
    17
         Celotex Corp. v. Catrett,
    18      477 U.S. 317 (1986) ........................................................................................... 8
    19   Chao v. A-One Med. Servs., Inc.,
    20     346 F. 3d 908 (9th Cir. 2003)........................................................................... 13

    21   Coleman v. Jiffy June Farms, Inc.,
           458 F.2d 1139 (5th Cir. 1972).......................................................................... 15
    22

    23   Donovan v. Burger King Corp.,
           672 F.2d 221 (1st Cir. 1982) ............................................................................ 14
    24
         Donovan v. Burger King Corp.,
    25
           675 F.2d 516 (2d Cir. 1982) .......................................................................14, 15
    26
         First Nat’l Ins. Co. v. FDIC,
    27      977 F. Supp. 1051 (S.D. Cal. 1997) ................................................................... 8
    28

                                                                  i
                                                    TABLE OF AUTHORITIES
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 3 of 25 Page ID #:117



     1   Jackson v. Advance Auto Parts, Inc.,
     2      362 F. Supp. 2d 1323 (N.D. Ga. 2005) ............................................................ 14

     3   Lopez v. Corporacion Azucarera de P.R.,
           938 F.2d 1510 (1st Cir. 1991) .......................................................................... 16
     4

     5   Matsuhita Elec. Indus. Co. Ltd. v. Zenith Radio Corp.,
           475 U.S. 574 (1986) ........................................................................................... 8
     6
         McLaughlin v. Richland Shoe Co.,
     7
           486 U.S. 128 (1988) ...................................................................................13, 15
     8
         Murray v. Stuckey’s, Inc.,
     9     939 F.2d 614 (8th Cir. 1991)............................................................................ 15
    10
         Musgraves v. Sears Holding Mgmt. Corp.,
    11     No. 11-0625, 2012 WL 3222905 (C.D. Cal. July 19, 2012)............................ 14
    12   Nat’l Union Fire Ins. Co. v. Argonaut Ins. Co.,
    13     701 F.2d 95 (9th Cir. 1983) ................................................................................ 9

    14   Nelson v. Waste Mgmt. of Alameda Cnty, Inc.,
            33 Fed. Appx. 273 (2002)................................................................................. 13
    15

    16   Ramirez v. Yosemite Water Co.,
           20 Cal. 4th 785 (1999)...................................................................................... 10
    17
         Reich v. Gateway Press, Inc.,
    18
            12 F.3d 685 (3d Cir. 1994) ............................................................................... 16
    19
         Robi v. Five Platters, Inc.,
    20     918 F.2d 1439 (9th Cir. 1990)............................................................................ 8
    21
         Rodriguez v. Farm Stores Grocery,
    22     518 F.3d 1259 (11th Cir. 2008)........................................................................ 16
    23   Schneider v. City of Springfield,
    24      102 F. Supp. 2d 827 (S.D. Ohio 1999)............................................................. 16
    25   SEIU, Local 02 v. Cnty of San Diego,
    26
            60 F.3d 1346 (9th Cir. 1994)............................................................................ 15

    27   Sherman v. Premium Concrete Cutting, Inc.,
            2004 WL 1510030 (N.D. Ill. July 6, 2004) ................................................13, 15
    28

                                                                 ii
                                                   TABLE OF AUTHORITIES
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 4 of 25 Page ID #:118



     1   Smith v. Rae-Venter Law Grp.,
     2     29 Cal. 4th 345 and 4 (2002)............................................................................ 10

     3   Wong v. Pape Machinery, Inc.,
           2009 WL 937481 (E.D. Cal. Apr. 7, 2009)...................................................... 11
     4

     5   Statutes

     6   29 U.S.C. § 216(b)................................................................................................. 18
     7   29 U.S.C. § 255(a) ................................................................................................. 13
     8
         29 U.S.C. § 260...................................................................................................... 18
     9
         Cal. Code Regs., tit. 8, § 13520.......................................................................10, 12
    10
         Other Authorities
    11

    12   29 C.F.R. § 541.100............................................................................................... 14

    13   29 C.F.R. §541.102................................................................................................ 15
    14   29 C.F.R. § 541.700(a) .......................................................................................... 14
    15
         Fed. R. Civ. P. 56(b) ................................................................................................ 8
    16
         Fed. R. Civ. P. 56(c) ................................................................................................ 8
    17
         Fed. R. Civ. P. 56(e) ................................................................................................ 8
    18

    19
    20

    21

    22

    23

    24

    25

    26

    27

    28

                                                                   iii
                                                     TABLE OF AUTHORITIES
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 5 of 25 Page ID #:119



     1                                  TABLE OF CONTENTS
         I.     INTRODUCTION........................................................................................ 0
     2
         II.    PROCEDURAL BACKGROUND .............................................................. 1
     3   III.   STATEMENT OF FACTS........................................................................... 2
     4          A. Red Robin................................................................................................ 2
                B. Kitchen Manager Duties ......................................................................... 2
     5
                C. PLAINTIFF’S EMPLOYMENT WITH RED ROBIN ......................... 4
     6          D. DUTIES PLAINTIFF WAS EXPECTED TO PERFORM AS A
                   KITCHEN MANAGER .......................................................................... 4
     7
                E. PLAINTIFF’S AUTHORITY AND DISCRETION .............................. 5
     8          F. PLAINTIFF MADE NO COMPLAINTS TO HUMAN
                   RESOURCES OR ANY GOVERNMENTAL AGENCY THAT
     9             HE WAS MISCLASSIFIED AS EXEMPT PRIOR TO THE
                   FILING OF THE INSTANT LAWSUIT ............................................... 6
    10
         III.   LEGAL STANDARD .................................................................................. 7
    11   IV.    LEGAL ARGUMENT ................................................................................. 8
    12          A. Red Robin Is Entitled To Summary Judgment On Plaintiff’s Claim
                      For Waiting Time Penalties Pursuant To California Labor Code
    13                Section 203......................................................................................... 8
                      1. California’s Executive Exemption ................................................. 8
    14
                      2. Under California Labor Code Section 203, Plaintiff Must
    15                       Prove Red Robin Lacked a Good Faith Basis to Dispute
                             His Claim for Additional Pay. ................................................. 9
    16                3. Red Robin Had a Good Faith Belief that It Had Paid All
                             Compensation Due When Plaintiff’s Employment
    17                       Terminated............................................................................. 10
    18                4. Plaintiff Cannot Satisfy His Burden to Demonstrate that Red
                             Robin Acted Willfully Under Labor Code Section 203. ........ 11
    19          B. Plaintiff’s FLSA Claim Cannot Extend Beyond The Two-Year
                      Limitations Period Because There Is No Evidence Of Any
    20                Willful Violation. ............................................................................. 12
    21                1. The FLSA Executive Exemption................................................... 12
                      2. Plaintiff Must Prove That Red Robin Acted Willfully.................. 14
    22
                      3. Plaintiff Cannot Prove That Red Robin Acted Willfully.............. 15
    23          C. Plaintiff Is Not Entitled To Liquidated Damages Because Red
                      Robin Acted In Good Faith And Had Reasonable Grounds For
    24                Believing That It Was Complying With The FLSA........................ 17
    25   V.     CONCLUSION .......................................................................................... 17

    26

    27

    28

                                                                 iv
                                                     TABLE OF CONTENTS
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 6 of 25 Page ID #:120



     1                 MEMORANDUM OF POINTS AND AUTHORITIES
     2   I.     INTRODUCTION
     3          The instant matter is a misclassification case between Plaintiff MARCIANO
     4   TOPETE (“Plaintiff”) and his former employer, RED ROBIN INTERNATIONAL,
     5   INC. (“Red Robin”). The legal claims in this case center around a core set of facts.
     6   Red Robin employed Plaintiff as a Kitchen Manager at one of its restaurants in
     7   Irvine, California. Red Robin, in good faith, classified Plaintiff as exempt from
     8   overtime, meal periods and rest periods under applicable state and federal law.
     9   Plaintiff challenges his exemption status and seeks unpaid wages and related
    10   penalties regarding the misclassification. It is undisputed that Plaintiff made the
    11   requisite salary to qualify for the exemption under both state and federal law and
    12   that Plaintiff was expected to perform managerial duties, including directing the
    13   work of restaurant employees and using his independent judgment and discretion
    14   to ensure each shift he worked ran smoothly and to support the general business
    15   operations at the Irvine restaurant. The dispute lies only over whether Plaintiff
    16   actually performed these managerial duties he was expected to perform to satisfy
    17   the requirements for the exemption test under both state and federal law.
    18          In this motion Red Robin makes a series of arguments recognizing that there
    19   is a dispute about whether Plaintiff was properly classified as exempt, but asserting
    20   that if it was determined that Plaintiff was misclassified (which he was not), Red
    21   Robin’s classification of Plaintiff as exempt was in good faith and there is no
    22   evidence of any willfulness both as to Plaintiff’s claim for “waiting time penalties”
    23   pursuant to California Labor Code section 203 (Fourth Cause of Action) and
    24   Plaintiff’s claim for liquidated damages pursuant to 29 U.S.C. section 216(b) of the
    25   federal Fair Labor Standards Act (“FLSA”) (Second Cause of Action) (see Docket
    26   No. 1-2, ¶ 33). First, Red Robin moves for partial summary judgment of Plaintiff’s
    27   claim for waiting time penalties pursuant to Labor Code section 203 as Plaintiff
    28   cannot establish the elements of this claim. The undisputed evidence demonstrates

         MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 7 of 25 Page ID #:121



     1   Red Robin had a good faith basis to believe it had properly classified Plaintiff as
     2   exempt. Any violation, therefore, was not “willful” and the Court should grant
     3   partial summary judgment.
     4          Second, Red Robin seeks partial summary judgment determining that
     5   Plaintiff’s claim for violation of the FLSA cannot extend beyond a two-year statute
     6   of limitations period as a matter of law because there is no evidence of any willful
     7   violations of the FLSA by Red Robin.
     8          Lastly, Red Robin seeks partial summary judgment of Plaintiff’s claim for
     9   liquidated damages pursuant to the FLSA as a matter of law because Red Robin
    10   had a good faith belief in Plaintiff’s exempt status as a Kitchen Manager of Red
    11   Robin’s Irvine restaurant and Plaintiff is unable to demonstrate that Red Robin did
    12   not have reasonable grounds for believing that it was complying with the FLSA in
    13   classifying Plaintiff as an exempt employee.
    14   II.    PROCEDURAL BACKGROUND
    15          On July 7, 2017, Plaintiff filed a complaint for damages in the Superior Court
    16   of the State of California in and for the County of Orange, entitled Marciano Topete
    17   v. Red Robin International, Inc., et al., Case No. 30-2017-00930423-CU-OE-CJC,
    18   alleging various wage and hour violations against Red Robin, including (1) failure
    19   to pay overtime wages, (2) a claim for liquidated damages pursuant to California
    20   Labor Code section 1194.2, (3) failure to provide meal and rest periods, (4) failure
    21   to provide accurate itemized wage statements, (5) violation of Labor Code section
    22   203, and (6) an unfair business practices claim. (Docket No. 1-1).
    23          On July 27, 2017, Plaintiff filed a First Amended Complaint, removing the
    24   claim for liquidated damages pursuant to California Labor Code section 1194.2 and
    25   adding a claim for violation of the FLSA. (Docket No. 1-2). Based on the addition
    26   of the federal claim and federal question jurisdiction, Red Robin removed the
    27   lawsuit to the United States District Court for the Central District of California
    28   (Southern Division) pursuant to 28 U.S.C. §§ 1331, 1367, and 1441. (Docket No. 1).
                                                   1
         MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 8 of 25 Page ID #:122



     1          On April 30, 2018 and June 22, 2018, defense counsel for Red Robin
     2   completed the deposition of Plaintiff. Plaintiff’s counsel completed the depositions
     3   of Red Robin employees Rebecca Bailey and Adin Philleo on May 2, 2018 and
     4   Karin Davie on May 4, 2018.
     5   III.   STATEMENT OF FACTS
     6          A.      Red Robin
     7          Red Robin owns and operates restaurants throughout the United States and
     8   throughout California.     The Irvine, California restaurant is comprised of a
     9   management team that consists of a Regional Operations Director (“ROD”), who
    10   oversees several restaurants within a specified geographical region, and a General
    11   Manager (“GM”) who is ultimately responsible for the day-to-day operations of the
    12   entire restaurant. (Uncontroverted Material Fact (“UMF”) 1). During the relevant
    13   period related to Plaintiff’s employment, Rebecca Bailey was one of the RODs for
    14   the Irvine location and Adin Philleo was one of the GMs. (UMF 2). Each
    15   restaurant also has a Kitchen Manager, who is ultimately expected to be in charge
    16   of all kitchen operations. (UMF 3). The Kitchen Manager is expected to supervise
    17   the “heart of house” (“HOH”) employees, which included cooks, expediters, and
    18   dishwashers, as well as all other restaurant employees when the Kitchen Manager
    19   is the manager on duty for the shift he or she works. (UMF 4).
    20          B.      Kitchen Manager Duties
    21          Pursuant to Red Robin’s job description for the Kitchen Manager position, a
    22   Kitchen Manager is expected to “[s]upport and ensure that the restaurant operates
    23   within Red Robin International guidelines, while meeting/exceeding sales and
    24   profitability objections.” (UMF 5). A Kitchen Manager is also expected to be
    25   “[r]esponsible for the proper execution and operation of the kitchen department,
    26   including all hiring/training of assistant kitchen managers and hourly team.” (UMF
    27   6).    A Kitchen Manager’s essential functions demonstrating Red Robin’s
    28   expectations that he or she perform management duties include, but are not limited
                                                  2
         MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 9 of 25 Page ID #:123



     1   to, the following:
     2          - Effectively and efficiently manage restaurant . . .;
     3          - Manage day to day operations during scheduled shifts that include daily
     4              decision making, Team Member support, Guest interaction, scheduling,
     5              planning while upholding standards, product quality and cleanliness;
     6          - Optimize profit by scheduling labor efficiently and ordering food and
     7              supplies to maintain appropriate inventory . . .;
     8          - Increase sales by ensuring Guest satisfaction and prompt problem
     9              resolution;
    10          - Responsible for the selection, on boarding and retention of Team
    11              Members through motivation, recognition, coaching and development;
    12          - Responsibly delegate and follow up on tasks while remaining
    13              accountable overall for kitchen and Team Members;
    14          - Ensure [HOH] team avoid cross contamination, improper food handling
    15              and/or storage practices, etc., through proper training and supervision;
    16          - Set performance expectations and monitor training process to ensure
    17              quality of training;
    18          - Prepare and conduct performance appraisals and one to ones within
    19              assigned department and take any necessary disciplinary action in line
    20              with Company standards;
    21          - Directly supervise 40-60 [“front of house” (FOH)/HOH] employees, and
    22              2-5 trainers per shift.
    23   (UMF 7). Red Robin expects that Kitchen Managers perform these duties and
    24   oversee their shifts, typically as the primary manager on duty for the entire
    25   restaurant. (UMF 8). Kitchen Managers are not expected to spend any significant
    26   amount of time performing tasks that hourly employees are expected to perform
    27   (“Spends limited time performing all [FOH/HOH] functions including food
    28   preparation, cooking, cleaning, serving and greeting Guests.”). (UMF 9).
                                                    3
         MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 10 of 25 Page ID #:124



     1          C.      Plaintiff’s Employment with Red Robin
     2          Plaintiff was hired and began working as a Kitchen Manager in Training in
     3   or around June 24, 2008. (UMF 10). During the period of time relevant to
     4   Plaintiff’s claims in the instant matter, Plaintiff was the Kitchen Manager of Red
     5   Robin’s Irvine restaurant. (UMF 11). At the time of his termination, Plaintiff was
     6   earning a salary in the high $60,000 range per year plus quarterly bonuses. (UMF
     7   12).
     8          D.      Duties Plaintiff Was Expected to Perform as a Kitchen Manager
     9          The primary task Plaintiff was expected to perform as a Kitchen Manager
    10   was to oversee the shifts he worked and ensure that the kitchen runs smoothly.
    11   (UMF 13). Plaintiff frequently was the primary manager on duty for the restaurant
    12   when he worked, which meant that he was expected to not only be responsible for
    13   overseeing the kitchen, but also supervising all restaurant employees and the
    14   operations of the entire restaurant. (UMF 14). As a result, Plaintiff would be
    15   managing and directing the work of both the FOH employees (i.e. servers, hosts)
    16   as well as the HOH employees (i.e. cooks, expediters, dishwashers) during his shift.
    17   (UMF 15).
    18          As a Kitchen Manager, Plaintiff was also expected to perform managerial
    19   duties, including, but not limited to, the following:
    20          - Supervising, directing and coaching HOH (and FOH employees when he
    21               was primary manager on duty, which he regularly was) in the execution
    22               of their duties, including making notes about hourly employee
    23               performance in the Irvine restaurant’s Action Log and having Ready, Set,
    24               Go meetings with hourly employees prior to the start of a shift (UMF 16);
    25          - Walking throughout the restaurant to evaluate employee performance,
    26               customer satisfaction, and the overall operation of the restaurant (UMF
    27               17);
    28          - Inspecting and evaluating food to ensure quality and uniformity,
                                                    4
         MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 11 of 25 Page ID #:125



     1               including performing a line check prior to the start of the shift (UMF 18);
     2          - Visiting guest tables to ensure quality service (UMF 19);
     3          - Monitoring employee compliance with various Red Robin policies, such
     4               as meal period policies, rest break policies, and food safety and sanitation
     5               policies (UMF 20);
     6          - Ensuring the health and safety policies for the kitchen and the entire
     7               restaurant were followed (UMF 21);
     8          - Ensuring the kitchen was properly staffed, monitoring labor costs, and
     9               phasing employees as necessary (UMF 22);
    10          - Recommending employees for hiring and firing (UMF 23);
    11          - Training employees (UMF 24).
    12   Plaintiff acknowledged that as a Kitchen Manager he was expected to perform these
    13   managerial duties, although for some he disputes he actually did perform them
    14   “[b]ecause there was not enough time in the day.” (UMF 25).
    15          E.      Plaintiff’s Authority and Discretion
    16          Plaintiff, like all other salaried managers, was expected to use his managerial
    17   and supervisory authority to run the shift by supervising, directing and coaching
    18   not only the HOH employees, but also the FOH employees as he was normally the
    19   manager on duty during the morning shifts he was scheduled to work. (UMF 26).
    20   This necessarily included the authority to make decisions on behalf of Red Robin
    21   and the Irvine restaurant with respect to, for example, customer complaints, service
    22   problems, or food quality issues. (UMF 27). Plaintiff also was expected to exercise
    23   his independent judgment and discretion with respect to managing inventory and
    24   ordering food and supplies for the kitchen. (UMF 28).
    25          Plaintiff’s authority also extended to kitchen staffing as he was expected to
    26   be primarily responsible for interviewing and hiring kitchen staff (i.e. cooks,
    27   expediters, dishwashers). (UMF 29). Plaintiff was also expected to discipline
    28   HOH employees (and had the authority to discipline FOH employees as well) by
                                                     5
         MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 12 of 25 Page ID #:126



     1   verbal coaching or issuing write-ups. (UMF 30).
     2          Plaintiff also was expected to control staffing levels at the restaurant. (UMF
     3   31). Plaintiff was expected to create the weekly schedules for the HOH employees
     4   and determine the number of HOH employees needed for each shift. (UMF 32).
     5   If the restaurant was slow, for instance, Plaintiff was expected to exercise his
     6   managerial discretion to “phase” (cut a shift short of what was scheduled)
     7   employees. (UMF 33).
     8          F.      Plaintiff Made No Complaints to Human Resources or Any
     9                  Governmental Agency That He Was Misclassified as Exempt
    10                  Prior to the Filing of the Instant Lawsuit
    11          Red Robin was not on notice that Plaintiff was deviating from Red Robin’s
    12   expectation that Plaintiff’s primary duty as a Kitchen Manager was to perform
    13   managerial duties concerning the kitchen, supervise both FOH and HOH
    14   employees, and run the shift he was assigned smoothly and efficiently. (UMF 34).
    15   Plaintiff never complained to human resources that he was spending significant
    16   amounts of time on non-managerial tasks despite having complained about two
    17   other employment-related issues in the past. (UMF 35). Plaintiff also never
    18   complained to any governmental agency that he was spending significant amounts
    19   of time on non-managerial tasks. (UMF 36). Likewise, no other employee
    20   indicated to Red Robin that Plaintiff was spending most of his time on non-
    21   managerial tasks. (UMF 37). In fact, Plaintiff’s supervisor, the Irvine GM, as well
    22   as the Irvine restaurant’s ROD, both believed that Plaintiff’s primary duties were
    23   to perform managerial duties concerning the kitchen, supervise both FOH and
    24   HOH employees, and run the shift he was assigned smoothly and efficiently, and
    25   neither of them observed him spending most of his time on non-managerial tasks.
    26   (UMF 38). Thus, Red Robin had no reason to believe that Plaintiff was non-
    27   exempt, as he now alleges.
    28   ///
                                                   6
         MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 13 of 25 Page ID #:127



     1   III.   LEGAL STANDARD
     2          The “purpose of summary judgment is to pierce the pleadings and to assess
     3   the proof in order to see whether there is a genuine need for trial.” Matsuhita Elec.
     4   Indus. Co. Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986) (citation omitted).
     5   Summary judgment is appropriate where there is “no genuine issue of material fact”
     6   and the moving party is “entitled to judgment as a matter of law.” Fed. R. Civ. P.
     7   56(c). A party can move for summary judgment on all or only part of a claim. See
     8   Fed. R. Civ. P. 56(b). “In cases that involve . . . multiple causes of action, summary
     9   judgment may be proper as to some causes of action but not as to others, or as to
    10   some issues but not as to others.” Baker v. Norman, 651 F.2d 1107, 1123 (5th Cir.
    11   1981); Robi v. Five Platters, Inc., 918 F.2d 1439 (9th Cir. 1990). Even if a party
    12   is not likely to prevail on one of its claims, “the Court may still grant summary
    13   adjudication as to specific issues if it will narrow the issues for trial.” First Nat’l
    14   Ins. Co. v. FDIC, 977 F. Supp. 1051, 1055 (S.D. Cal. 1997).
    15          Where the plaintiff has the burden of proof at trial, a defendant meets its
    16   burden on summary judgment merely by pointing to an absence of evidence
    17   supporting an essential element of the plaintiff’s claim. Celotex Corp. v. Catrett,
    18   477 U.S. 317, 325 (1986). Although certainly free to do so, the defendant need not
    19   affirmatively negate an element of the plaintiff’s claim and need not present any
    20   evidence at all.    Id. at 323.    Rather, the defendant demonstrates summary
    21   adjudication is appropriate by “informing the district court of the basis of its
    22   motion, and identifying those portions of ‘the pleadings, depositions, answers to
    23   interrogatories, and admissions on file, together with affidavits, if any,’ which it
    24   believes demonstrates the absence of a genuine issue of material fact.” Id. (quoting
    25   Fed. R. Civ. P. 56(c)).
    26          The plaintiff’s burden in resisting summary judgment is more difficult. A
    27   plaintiff may not defeat summary judgment merely by relying on its pleadings or
    28   on conclusory statements. Fed. R. Civ. P. 56(e). Nor may the plaintiff prevail
                                                   7
         MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 14 of 25 Page ID #:128



     1   merely by attacking or discrediting the defendant’s evidence. Nat’l Union Fire Ins.
     2   Co. v. Argonaut Ins. Co., 701 F.2d 95, 97 (9th Cir. 1983). The plaintiff also may
     3   not avoid summary judgment by pointing to a “mere scintilla” of evidence; rather,
     4   the plaintiff must affirmatively present specific admissible evidence sufficient to
     5   enable a reasonable trier of fact to find in its favor. Anderson v. Liberty Lobby,
     6   Inc., 477 U.S. 242, 252 (1986). Plaintiff can do none of these things here with
     7   respect to the claims at issue, and as a result, Red Robin’s motion should be granted.
     8   IV.    LEGAL ARGUMENT
     9          A.      Red Robin Is Entitled To Summary Judgment On Plaintiff’s
    10                  Claim For Waiting Time Penalties Pursuant To California Labor
    11                  Code Section 203
    12          Plaintiff asserts a claim for waiting time penalties under California Labor
    13   Code section 203. (See Docket No. 1-2, ¶¶ 43-46). An employer is liable for
    14   waiting time penalties only if it “willfully” fails to pay all wages upon discharge.
    15   Cal. Lab. Code § 203; Barnhill v. Robert Saunders & Co., 125 Cal. App. 3d 1, 7
    16   (1981).     Even if Plaintiff ultimately can prevail on his claim that he was
    17   misclassified (which he cannot), his claim for waiting time penalties still fails
    18   because Red Robin did not “willfully” fail to pay Plaintiff’s wages upon discharge
    19   as a matter of law.
    20                       1. California’s Executive Exemption
    21          Employees falling under the executive exemption need not receive overtime
    22   pay or breaks. Executive employees earn a salary of twice the minimum wage,1
    23   direct two or more employees, have the authority to recommend changes in
    24

    25   1
                To qualify for the executive exemption, an employee must earn a salary of
    26
         twice the minimum wage, which is $11.00 per hour, $880 per week, $3,813.33 per
    27
         month, and $45,760 per year in 2018. The minimum wage was less than these
    28
         amounts prior to 2018 when Plaintiff was employed by Red Robin.
                                                   8
         MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 15 of 25 Page ID #:129



     1   employment status, exercise discretion and independent judgment, and perform
     2   exempt (management) work most of the time. Exempt work includes all work
     3   directly and closely related to managerial work and work used as a means to carry
     4   out exempt functions. Wage Order 7-2001 § 1(A). The California Supreme Court
     5   describes a two-step inquiry to determine exemptions: (1) examine the work
     6   actually performed to see how much was exempt; and if the exempt work is not in
     7   the majority, then (2) see if the work comports with realistic employer expectations.
     8   Ramirez v. Yosemite Water Co., 20 Cal. 4th 785, 802 (1999).
     9                       2. Under California Labor Code Section 203, Plaintiff Must
    10                         Prove Red Robin Lacked a Good Faith Basis to Dispute His
    11                         Claim for Additional Pay.
    12          As the California Supreme Court has recognized, where an employer has a
    13   reasonable, good faith belief that no wages were owed, the failure to timely pay
    14   upon termination is not “willful.” Smith v. Rae-Venter Law Grp., 29 Cal. 4th 345,
    15   354, fn. 3 and 4 (2002); see also 8 Cal. Code Regs., tit. 8, § 13520; Nordstrom
    16   Commission Cases, 186 Cal. App. 4th 576, 584 (2010) (“There is no willful failure
    17   to pay wages if the employer and employee have a good faith dispute as to whether
    18   and when the wages were due.”); Armenta v. Osmose, Inc., 135 Cal. App. 4th 314,
    19   325 (2005) (“A good faith belief in a legal defense will preclude a finding of
    20   willfulness.”); Reber v. AIMCO / Bethesda Holdings, Inc., 2008 WL 4384147, *24,
    21   (C.D. Cal. 2008) (summary adjudication appropriate on Labor Code section 203
    22   claim where good faith dispute existed whether employees were exempt)
    23   ([Because] “it is clear that a good faith dispute exists [as to whether plaintiffs were
    24   misclassified] . . . ., penalties under Section 203 are unwarranted”). A “good faith
    25   dispute” occurs when “an employer presents a defense, based in law or fact which,
    26   if successful, would preclude any recovery on the part of the employee.” 8 Cal.
    27   Code Regs., tit. 8, § 13520. Whether the defense ultimately is successful is
    28   inconsequential. Id.
                                                   9
         MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 16 of 25 Page ID #:130



     1          As long as there is no evidence that the employer acted in bad faith and it
     2   presents a good faith defense based in law or fact, “willfulness” cannot be
     3   established. See Amaral v. Cintas Corp., 163 Cal. App. 4th 1157, 1203 (2008).
     4   Even if the employer’s legal defense is ultimately rejected by the court, that defense
     5   prevents a finding of willfulness if made in good faith. See id. at 1201-02. A
     6   plaintiff bears the burden of proving that an alleged violation of Section 203 is
     7   “willful.” See Wong v. Pape Machinery, Inc., 2009 WL 937481, at *11 (E.D. Cal.
     8   Apr. 7, 2009); Amaral, 163 Cal. App. 4th at 1203.
     9                       3. Red Robin Had a Good Faith Belief that It Had Paid All
    10                         Compensation     Due     When      Plaintiff’s    Employment
    11                         Terminated.
    12          Red Robin had a good faith belief that it paid all compensation due to
    13   Plaintiff upon termination of his employment based on his exempt classification
    14   during the time he worked as a Kitchen Manager. Plaintiff acknowledged that in
    15   his role as a Kitchen Manager, he was primarily expected to perform managerial
    16   duties concerning the kitchen, supervise both FOH and HOH employees, and run
    17   the shift he was assigned smoothly and efficiently. (UMF 13-25). The testimony
    18   of the defense witnesses also confirm that as a Kitchen Manager Plaintiff was
    19   primarily expected to perform managerial duties concerning the kitchen, supervise
    20   both FOH and HOH employees, and run the shift he was assigned smoothly and
    21   efficiently. (UMF 4-25). Plaintiff also was expected to use his discretion and
    22   judgment regarding significant matters and Red Robin conveyed its expectation
    23   that he spend most of his time on these managerial duties. (UMF 26-33). Neither
    24   Plaintiff nor any other Red Robin employee raised the possibility that Plaintiff was
    25   not spending most of his time managing. (UMF 34-38); see Armenta, 135 Cal.
    26   App. 4th at 326 (finding that employer lacked good faith belief that employees were
    27   properly paid when employees complained about non-payment and employer
    28   responded that they would not be paid). Thus, Red Robin had a good faith basis to
                                                  10
         MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 17 of 25 Page ID #:131



     1   believe that Plaintiff spent most of his time performing the expected managerial
     2   duties of a Red Robin Kitchen Manager and was therefore exempt from overtime
     3   pay requirements.
     4          Moreover, even if it were later determined that Plaintiff was not exempt
     5   while he was a Kitchen Manager at the Irvine restaurant, Red Robin’s reasonable
     6   belief that he was when his employment terminated would suffice to prevent
     7   recovery of Labor Code section 203 penalties. See Barnhill, 125 Cal. App. 3d at 8
     8   (holding that employer does not owe waiting time penalties, even when it
     9   ultimately owed unpaid compensation, based on its good faith belief that such
    10   compensation was not due).
    11                       4. Plaintiff Cannot Satisfy His Burden to Demonstrate that Red
    12                          Robin Acted Willfully Under Labor Code Section 203.
    13          Plaintiff cannot meet his burden of raising a triable issue of material fact
    14   showing that Red Robin’s belief that he was exempt was “unsupported by any
    15   evidence” or in bad faith. Cal. Code Regs., tit. 8, § 13520. There is evidence
    16   supporting Red Robin’s belief that Plaintiff was exempt as a Kitchen Manager of
    17   the Irvine restaurant.      The position required the performance of significant
    18   managerial duties and Red Robin articulated its expectation that Plaintiff spend a
    19   majority of his time performing those duties (UMF 4-26). Thus, there is at least
    20   some evidence that Plaintiff was exempt.
    21          Likewise, Plaintiff cannot establish that Red Robin’s belief was in bad faith.
    22   The undisputed facts demonstrate that Plaintiff never indicated that he was
    23   spending a majority of his time on non-managerial tasks (UMF 35) and no Red
    24   Robin employee reported as much (UMF 37). Plaintiff has presented no evidence
    25   that Red Robin knew that he was spending a majority of his time performing non-
    26   managerial, nonexempt tasks. Plaintiff’s claim of waiting time penalties pursuant
    27   to California Labor Code section 203, therefore, cannot survive partial summary
    28   judgment.
                                                   11
         MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 18 of 25 Page ID #:132



     1          B.      Plaintiff’s FLSA Claim Cannot Extend Beyond The Two-Year
     2                  Limitations Period Because There Is No Evidence Of Any Willful
     3                  Violation.
     4          The statute of limitations for a claim seeking unpaid overtime wages under
     5   the FLSA is generally two years, but extends to three years if the claim is “arising
     6   out of a willful violation.” 29 U.S.C. § 255(a). “Willful” behavior is conduct that
     7   is more than simply negligent or unreasonable. McLaughlin v. Richland Shoe Co.,
     8   486 U.S. 128, 133 (1988); see also Nelson v. Waste Mgmt. of Alameda Cnty, Inc.,
     9   33 Fed. Appx. 273, 274 (2002) (“Mere negligence by the employer in determining
    10   its legal obligation is not sufficient; there must be evidence that the employer
    11   affirmatively knew it was violating the FLSA or that it was acting with ‘reckless
    12   disregard’ of the FLSA”) (quoting McLaughlin, 486 U.S. at 135 n.13). An
    13   employer’s violation of the FLSA is “willful” only if the employer either knew or
    14   acted with reckless disregard for whether its conduct was prohibited by the FLSA.
    15   See McLaughlin, 486 U.S. at 133; Chao v. A-One Med. Servs., Inc., 346 F. 3d 908,
    16   918 (9th Cir. 2003). “If an employer acts unreasonably, but not recklessly, in
    17   determining its legal obligation” under the FLSA, its action is not willful. Id. at
    18   135 n.13. Although normally in a summary judgment motion all evidence is
    19   construed in favor of the nonmoving party, Plaintiff has the burden on a FLSA
    20   claim to show that the alleged violations are willful. See Nelson, 33 Fed. Appx. at
    21   274; see also Sherman v. Premium Concrete Cutting, Inc., 2004 WL 1510030, at
    22   *3-4 (N.D. Ill. July 6, 2004); see also Adams v. U.S., 350 F.3d 1216, 1229 (Fed.
    23   Cir. 2003) (“[u]nlike good faith, the employee bears the burden of proving the
    24   willfulness of the employer’s FLSA violation”).
    25                       1. The FLSA Executive Exemption
    26          Employees qualifying for the executive exemption are (1) salaried, (2) have
    27   a primary duty that consists of managing the enterprise or a customarily recognized
    28   department, (3) regularly direct the work of two or more employees, (4) have
                                                 12
         MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 19 of 25 Page ID #:133



     1   weight given to his suggestions regarding hiring and firing, and (5) regularly
     2   exercise discretionary power. 29 C.F.R. § 541.100.
     3          The regulations define “primary duty” as “the principal, main, major or most
     4   important duty that the employee performs.” 29 C.F.R. § 541.700(a). Unlike state-
     5   law requirements, the time performing exempt tasks is not determinative and an
     6   employee may be exempt even if he spends most of his time on nonexempt work.
     7   29 C.F.R. § 541.700(a); see, e.g., Donovan v. Burger King Corp., 675 F.2d 516,
     8   521 (2d Cir. 1982) (employee may be exempt even while spending most of time on
     9   performing nonexempt work); Donovan v. Burger King Corp., 672 F.2d 221, 226-
    10   27 (1st Cir. 1982) (assistant manager had management as their primary duty even
    11   though he spent a “majority of his time performing nonexempt work); Musgraves
    12   v. Sears Holding Mgmt. Corp., No. 11-0625, 2012 WL 3222905, *12 (C.D. Cal.
    13   July 19, 2012) (manager was found exempt even though he testified that he spent
    14   52% to 86% of his time performing non-exempt tasks); Jackson v. Advance Auto
    15   Parts, Inc., 362 F. Supp. 2d 1323, 1331-35 (N.D. Ga. 2005) (assistant managers
    16   found exempt even though they testified that they spent between 60% and 90% of
    17   their time performing nonexempt tasks, such as stocking, cleaning and running the
    18   registers, because while performing nonexempt tasks, they oversaw other
    19   employees and made sure the store operated smoothly).
    20          Thus, the “[d]etermination of an employee’s primary duty must be based on
    21   all the facts in a particular case, with the major emphasis on the character of the
    22   employee’s job as a whole.” 29 C.F.R. § 541.700(a). Factors a court may consider
    23   include “the relative importance of the exempt duties as compared with other types
    24   of duties; the amount of time spent performing exempt work; the employee’s
    25   relative freedom from direct supervision; and the relationship between the
    26   employee's salary and the wages paid to other employees for the kind of nonexempt
    27   work performed by the employee.” Id.
    28   ///
                                                 13
         MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 20 of 25 Page ID #:134



     1          Examples of managerial work include: training employees, setting hours of
     2   work; planning work; determining techniques to be used, apportioning work among
     3   workers; directing work; handling workers’ complaints and disciplining where
     4   necessary; controlling the flow and distribution of materials, merchandise or
     5   supplies; and providing for the safety of workers and the employer’s property. 29
     6   C.F.R. §541.102.
     7          Discretionary tasks include training and supervising employees, ordering
     8   merchandise, handling customer complaints and safeguarding cash receipts.
     9   Donovan, 675 F.2d at 521-22 (assistant manager exercised discretion by moving
    10   employees from task to task, ensuring employees performed their jobs,
    11   representing manager in dealings with employees, ordering supplies based on
    12   future sales, dealing with the public, and handling cash or inventory irregularities);
    13   Murray v. Stuckey’s, Inc., 939 F.2d 614, 619 (8th Cir. 1991) (discretionary powers
    14   include training and supervising employees, handling customer complaints, and
    15   safe-guarding cash receipts).
    16                       2. Plaintiff Must Prove That Red Robin Acted Willfully
    17          An employer acts willfully for the purposes of the FLSA statute of
    18   limitations if “the employer either knew or showed reckless disregard for the matter
    19   of whether its conduct was prohibited by the FLSA.”2 McLaughlin, 486 U.S. at
    20   133; SEIU, Local 02 v. Cnty of San Diego, 60 F.3d 1346, 1356 (9th Cir. 1994).
    21          Under this standard, an FLSA plaintiff seeking to invoke the three-year
    22   limitations period has the burden of proof. See Adams, 350 F.3d at 1229; Sherman,
    23

    24   2
                In interpreting the term “willful,” the Court expressly rejected two other
    25
         tests: the Jiffy June test that asked only whether the employer knew the Act “was
    26
         in the picture,” Coleman v. Jiffy June Farms, Inc., 458 F.2d 1139, 1142 (5th Cir.
    27
         1972), and another test that asked if the employer acted unreasonably in believing
    28
         it was complying with the statute. McLaughlin, 486 U.S. at 134.
                                                   14
         MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 21 of 25 Page ID #:135



     1   2004 WL 1510030, at *3-4. Thus, a plaintiff cannot survive a motion for summary
     2   judgment unless he “make[s] a competent demonstration that there [is a]
     3   trialworthy issue as to whether [the employer] ‘either knew or showed reckless
     4   disregard for the matter of whether its conduct was prohibited by the statute.’” See
     5   Lopez v. Corporacion Azucarera de P.R., 938 F.2d 1510, 1515-16 (1st Cir. 1991)
     6   (quoting McLaughlin, 486 U.S. at 133). Mere awareness that the FLSA might
     7   apply is insufficient to establish a willful violation. See Schneider v. City of
     8   Springfield, 102 F. Supp. 2d 827, 836 (S.D. Ohio 1999) (finding “absolutely
     9   meritless” the plaintiff’s arguments that an employer’s conduct is willful “when it
    10   knows its actions possibly might violate the FLSA,” “realizes that the FLSA might
    11   apply,” or that the “FLSA is in the picture”). Likewise, close questions of law and
    12   fact weigh against a finding of willfulness. See Reich v. Gateway Press, Inc., 12
    13   F.3d 685, 703 (3d Cir. 1994). Even a finding of no good faith for purposes of
    14   liquidated damages would not mandate a finding of willfulness for purposes of the
    15   FLSA’s statute of limitations. See Rodriguez v. Farm Stores Grocery, 518 F.3d
    16   1259, 1273-74 (11th Cir. 2008). Thus, Plaintiff’s burden proof is substantial.
    17                       3. Plaintiff Cannot Prove That Red Robin Acted Willfully
    18          Red Robin established the Kitchen Manager position as a managerial
    19   position for its restaurants and employed its Kitchen Managers to perform
    20   managerial duties concerning the kitchen, supervise both FOH and HOH
    21   employees, and run the shift they were assigned smoothly and efficiently. As with
    22   all Kitchen Managers, Red Robin expected that Plaintiff use his discretion and
    23   judgment regarding significant matters and Red Robin conveyed its expectation
    24   that he spend most of his time on these managerial duties. (UMF 4-33). It was
    25   expected that Plaintiff would primarily spend his time performing a wide range of
    26   significant managerial tasks, including but not limited to:
    27          - supervising, directing and coaching HOH (and FOH employees when he
    28              was primary manager on duty, which he regularly was) in the execution
                                                   15
         MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 22 of 25 Page ID #:136



     1              of their duties, including making notes about hourly employee
     2              performance in the Irvine restaurant’s Action Log and having Ready, Set,
     3              Go meetings with hourly employees prior to the start of a shift (UMF 16);
     4          - walking throughout the restaurant to evaluate employee performance,
     5              customer satisfaction, and the overall operation of the restaurant (UMF
     6              17);
     7          - inspecting and evaluating food to ensure quality and uniformity,
     8              including performing a line check prior to the start of the shift (UMF 18);
     9          - visiting guest tables to ensure quality service (UMF 19);
    10          - monitoring employee compliance with various Red Robin policies, such
    11              as meal period policies, rest break policies, and food safety and sanitation
    12              policies (UMF 20);
    13          - ensuring the health and safety policies for the kitchen and the entire
    14              restaurant were followed (UMF 21);
    15          - ensuring the kitchen was properly staffed, monitoring labor costs, and
    16              phasing employees as necessary (UMF 22);
    17          - recommending employees for hiring and firing (UMF 23);
    18          - training employees (UMF 24).
    19   Red Robin expected that Plaintiff would exercise considerable discretion and
    20   judgment in performing these managerial duties. (UMF 26-33). Neither Plaintiff
    21   nor any other Red Robin employee raised the possibility that Plaintiff was not
    22   spending most of his time managing. (UMF 34-38). Thus, Red Robin had a good
    23   faith basis to believe that Plaintiff spent most of his time performing the expected
    24   managerial duties of a Red Robin Kitchen Manager and was therefore exempt
    25   under the FLSA.
    26          Here, there is no evidence to support that Red Robin knew they were
    27   violating the FLSA, or that they recklessly disregarded the FLSA. To the contrary,
    28   the uncontroverted facts demonstrate that Plaintiff was properly classified or, at the
                                                   16
         MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 23 of 25 Page ID #:137



     1   very least, that Red Robin acted in good faith in its belief that Plaintiff was properly
     2   classified. Red Robin’s good faith belief is incompatible with the allegations that
     3   Red Robin willfully violated the FLSA. Accordingly, Red Robin is nevertheless
     4   entitled to partial summary judgment that the limitations period for any FLSA
     5   claims is limited to two years.
     6          C.      Plaintiff Is Not Entitled To Liquidated Damages Because Red
     7                  Robin Acted In Good Faith And Had Reasonable Grounds For
     8                  Believing That It Was Complying With The FLSA
     9          The FLSA provides for an award of liquidated damages in an amount equal
    10   to unpaid overtime compensation. 29 U.S.C. § 216(b). However, courts retain
    11   discretion to withhold a liquidated damages award where an employer shows that,
    12   “despite the failure to pay appropriate wages, the employer acted in subjective
    13   ‘good faith’ and had objectively ‘reasonable grounds' for believing that the acts or
    14   omissions giving rise to the failure did not violate the FLSA.” Alvarez v. IBP, Inc.,
    15   339 F.3d 894, 909 (9th Cir. 2003); see also 29 U.S.C. § 260.
    16          Here, Red Robin clearly had a good faith and reasonable grounds for
    17   believing that Plaintiff was exempt under the FLSA. As discussed above, Plaintiff
    18   performed work related to Red Robin’s general business operations, engaged in
    19   matters of significance to Red Robin and its customers, and regularly exercised
    20   discretion and independent judgment. As a result, Red Robin acted in good faith
    21   in believing that Plaintiff satisfied multiple overtime exemptions. Accordingly,
    22   pursuant to 29 U.S.C. section 260, Plaintiff does not have a viable claim for
    23   liquidated damages.
    24   V.     CONCLUSION
    25          The undisputed facts demonstrate that Plaintiff cannot establish that Red
    26   Robin willfully violated the California Labor Code section 203 because Plaintiff
    27   cannot prove that Red Robin knew or recklessly disregarded the possibility that he
    28   was misclassified as exempt. Likewise, Plaintiff cannot establish a willful violation
                                                   17
         MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 24 of 25 Page ID #:138



     1   under the FLSA for the same reasons. Red Robin expected that Plaintiff, as a
     2   Kitchen Manager, would exercise considerable discretion and perform significant
     3   managerial responsibilities to ensure the profitable operations of the Irvine
     4   restaurant. Red Robin expected that Plaintiff would spend most of his time on
     5   managerial and closely related duties and Plaintiff never notified Red Robin that
     6   he was defying that expectation. For these reasons, Red Robin had a good faith
     7   belief that Plaintiff was properly classified as exempt from state and federal
     8   overtime pay requirements. As such, Red Robin did not willfully violate the FLSA
     9   or California Labor Code section 203. For the above reasons, Red Robin requests
    10   that this Court dismiss Plaintiff’s claims for waiting time penalties pursuant to
    11   California Labor Code section 203 and liquidated damages pursuant to the FLSA
    12   with prejudice and limit Plaintiff’s FLSA claim to a two-year limitations period.
    13

    14    Dated: July 23, 2018                    Respectfully submitted,
    15                                            FISHER & PHILLIPS LLP
    16

    17                                       By: /s/ Sean F. Daley
                                                 LONNIE D. GIAMELA
    18                                           SEAN F. DALEY
                                                 Attorneys for Defendant
    19                                           RED ROBIN INTERNATIONAL,
                                                 INC.
    20

    21

    22

    23

    24

    25

    26

    27

    28

                                                 18
         MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
         FPDOCS 34317772.1
Case 8:17-cv-01721-AG-JDE Document 17-1 Filed 07/23/18 Page 25 of 25 Page ID #:139



     1                                    CERTIFICATE OF SERVICE
     2          I, the undersigned, am employed in the County of Los Angeles, State of California.
         I am over the age of 18 and not a party to the within action; am employed with Fisher &
     3   Phillips LLP and my business address is 444 South Flower Street, Suite 1500, Los
         Angeles, California 90071.
     4
                On July 23, 2018 I served the foregoing document entitled MEMORANDUM OF
     5   POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT RED ROBIN
         INTERNATIONAL, INC.’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     6          on all the appearing and/or interested parties in this action by placing      the
         original    a true copy thereof enclosed in sealed envelope(s) addressed as follows:
     7
          Jonathan Jackel                             Attorney for Plaintiff
     8    Nora Rousso                                 Marciano Topete
          Rousso & Jackel
     9    116 E. Campbell Avenue, Suite 2             Tel: (408) 378-3200
          Campbell, California 95008                  Fax: (408) 378-3202
    10                                                jonathan@roussojackel.com
                                                      nora@roussojackel.com
    11
               [by ELECTRONIC SUBMISSION] - I served the above listed document(s)
    12          described via the United States District Court’s Electronic Filing Program on the
                designated recipients via electronic transmission through the CM/ECF system on
    13          the Court’s website. The Court’s CM/ECF system will generate a Notice of
                Electronic Filing (NEF) to the filing party, the assigned judge, and any registered
    14          users in the case. The NEF will constitute service of the document(s). Registration
                as a CM/ECF user constitutes consent to electronic service through the court’s
    15          transmission facilities.
    16         [by FEDERAL EXPRESS] - I am readily familiar with the firm’s practice for
                collection and processing of correspondence for overnight delivery by Federal
    17          Express. Under that practice such correspondence will be deposited at a facility
                or pick-up box regularly maintained by Federal Express for receipt on the same
    18          day in the ordinary course of business with delivery fees paid or provided for in
                accordance with ordinary business practices.
    19
               [by PERSONAL SERVICE] - I caused to be delivered by messenger such
    20          envelope(s) by hand to the office of the addressee(s). Such messenger is over the
                age of eighteen years and not a party to the within action and employed with
    21          Network Express, whose business address is 1533 Wilshire Boulevard, Los
                Angeles, CA 90017.
    22

    23          I declare that I am employed in the office of a member of the bar of this Court at
         whose direction the service was made. Executed July 23, 2018 at Los Angeles,
    24   California.
          Melody Martinez                         By: /s/Melody Martinez
    25                       Print Name                                   Signature

    26

    27

    28


                                             CERTIFICATE OF SERVICE
         FPDOCS 34317772.1
